     Case 2:13-cr-00012-RMP      ECF No. 286    filed 10/16/13   PageID.2471 Page 1 of 2




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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                   NO: CR-13-12-RMP-1
 8                             Plaintiff,
                                                   ORDER DENYING WITH LEAVE TO
 9         v.                                      RENEW MOTION TO SEVER
                                                   COUNTS AND FOR RELIEF FROM
10   GREGORY D. JEFFREYS;                          MISJOINDER
     KIMBERLY JEFFREYS; and
11   SHANNON STILTNER,

12                             Defendants.

13         BEFORE THE COURT is Defendant Gregory Jeffreys’s Motion to Sever

14   Counts and for Relief from Misjoinder. ECF No. 256. The Court has reviewed the

15   motion, supporting materials, and responses. The Court is fully informed.

16         Defendant Jeffreys filed this motion on September 24, 2013, challenging the

17   joinder of offenses and of defendants in the 73-count indictment that initiated this

18   case. ECF No. 256. On October 9, 2013, the Government filed a 143-count

19   superseding indictment. ECF No. 280. At prior hearings, the Government notified

20   the Court and Defendants of its intention to file a superseding indictment.



     ORDER DENYING WITH LEAVE TO RENEW MOTION TO SEVER
     COUNTS AND FOR RELIEF FROM MISJOINDER ~ 1
     Case 2:13-cr-00012-RMP     ECF No. 286    filed 10/16/13   PageID.2472 Page 2 of 2




 1         The Court finds that it cannot properly review the motion in light of the

 2   superseding indictment. If appropriate, Defendant Jeffreys may revise his motion

 3   in accordance with the superseding indictment.

 4         Accordingly, IT IS HEREBY ORDERED that Defendant Jeffreys’s

 5   Motion to Sever Counts and for Relief from Misjoinder, ECF No. 256, is

 6   DENIED with LEAVE TO RENEW.

 7         The District Court Clerk is directed to enter this Order and provide copies to

 8   counsel.

 9         DATED this 16th day of October 2013.

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11                                                s/ Rosanna Malouf Peterson
                                              ROSANNA MALOUF PETERSON
12                                          Chief United States District Court Judge

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     ORDER DENYING WITH LEAVE TO RENEW MOTION TO SEVER
     COUNTS AND FOR RELIEF FROM MISJOINDER ~ 2
